       Case 3:24-cv-00010-SFR          Document 42      Filed 02/05/25   Page 1 of 26




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                              :
JOHN GRANDE,                                  :     CIVIL ACTION NO: 3:24-cv-00010-SFR
          Plaintiff,                          :
                                              :
v.                                            :
                                              :
HARTFORD BOARD OF EDUCATION; :
LESLIE TORRES-RODRIGUEZ, in her               :
individual capacity and her official capacity :
as Superintendent of Hartford Public          :
Schools; EDWARD WILSON, JR., in his :
individual capacity and his official capacity :
as Staff Attorney/Executive Director of       :
Internal Investigations and Security of       :
Hartford Public Schools; and TRACY            :
AVICOLLI, in her individual capacity and :
her official capacity as Director of Arts     :
and Wellness for Hartford Public Schools, :
                Defendants.                   :     FEBRUARY 5, 2025
                                              :

              MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                    MOTION FOR SUMMARY JUDGMENT



                                                    DEFENDANTS,
                                                    HARTFORD BOARD OF EDUCATION,
                                                    LESLIE TORRES-RODRIGUEZ,
                                                    EDWARD WILSON, JR., and
                                                    TRACY AVICOLLI

                                              By:   /s/ Margaret J. Strange
                                                    Margaret J. Strange (ct08212)
                                                    Margaret.Strange@jacksonlewis.com
                                                    Sara R. Simeonidis (ct25566)
                                                    Sara.Simeonidis@jacksonlewis.com
                                                    Jackson Lewis P.C.
                                                    90 State House Square, 8th Floor
                                                    Hartford, CT 06103
                                                    P: (860) 522-0404
                                                    F: (860) 247-1330
       Case 3:24-cv-00010-SFR                         Document 42                  Filed 02/05/25                 Page 2 of 26




                                                TABLE OF CONTENTS


I.     INTRODUCTION............................................................................................................. 1
II.    FACTUAL BACKGROUND ........................................................................................... 1
       A.        Plaintiff’s Employment With the District ............................................................... 1
       B.        Plaintiff’s Inappropriate Comments During the Professional Development
                 Training ................................................................................................................... 2
       C.        The District’s Investigation and Plaintiff’s Letter of Reprimand ........................... 4
       D.        Plaintiff’s Retirement From the District ................................................................. 7
III.   PROCEDURAL HISTORY ............................................................................................. 7
IV.    LEGAL ANALYSIS ......................................................................................................... 8
       A.        Summary Judgment Standard ................................................................................. 8
       B.        Plaintiff’s Claims Against Ms. Torres-Rodriguez, Mr. Wilson and Ms. Avicolli Fail
                 as a Matter of Law .................................................................................................. 9
                 1.         Judgment should enter in favor of the Individual Defendants on Plaintiff’s
                            section 1983 claims because they are duplicative of his claims against the
                            District. ............................................................................................................. 9
                 2.         Judgment should enter in favor of the Individual Defendants because they are
                            entitled to qualified immunity. ...................................................................... 10
       C.        Defendants Are Entitled to Summary Judgment on Plaintiff’s First Amendment
                 Retaliation Claim .................................................................................................. 12
                 1.         Plaintiff did not speak as a private citizen on a matter of public concern.... 13
                 2.         Plaintiff’s speech was pursuant to his “official duties” and not as a private
                            citizen. ............................................................................................................ 16
                 3.         The District had a legitimate interest in restricting injurious speech. .......... 17
       D.        Defendants Are Entitled To Summary Judgment On Plaintiff’s “Compelled
                 Speech” Claim ...................................................................................................... 19
V.     CONCLUSION ............................................................................................................... 20




                                                                     i
          Case 3:24-cv-00010-SFR                        Document 42                Filed 02/05/25               Page 3 of 26




                                                TABLE OF AUTHORITIES


Cases                                                                                                                              Page(s)

Anderson v. Liberty Lobby, Inc.,
   477 U.S. 242 ..............................................................................................................................9

Bailey v. Riehl,
   No. 3:24cv00993, 2024 U.S. Dist. LEXIS 215945 (D. Conn. Nov. 27, 2024)........................11

Bd. of Educ., Island Trees Sch. Dist. No. 26 v. Pico,
    457 U.S. 853 (1982) .................................................................................................................13

Brown v. Chicago Bd. Of Educ.,
   824 F.3f 713 (7th Cir. 2015) ....................................................................................................18

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) .................................................................................................................10

Condon v. Town of Brookfield,
   No. 3:23cv00695, 2024 U.S. Dist. LEXIS 149156 (D. Conn. Aug. 20, 2024)........................11

Connick v. Myers,
   461 U.S. 138 (1983) ......................................................................................................... passim

Cornejo v. Bell,
   592 F.3d 121 (2d Cir. 2010).....................................................................................................13

Demski v. Town of Enfield,
  No. 3:14cv01568, 2015 U.S. Dist. LEXIS 95116 (D. Conn. July 22, 2015) ...........................10

Ezekwo v. New York City Health & Hospitals Corp.,
   940 F.2d 775 (2d Cir. 1991)...............................................................................................15, 17

Garcetti v. Ceballos,
   547 U.S. 410 (2006) ......................................................................................................... passim

Grillo v. N.Y.C. Transit Auth.,
   291 F.3d 231 (2d Cir. 2002).........................................................................................15, 16, 19

Harlow v. Fitzgerald,
   457 U.S. 800 (1982) ...........................................................................................................11, 12

Jackler v. Byrne,
   658 F.3d 225 (2d Cir. 2011)...............................................................................................16, 18

Janus v. AFSCME, Council 31,
   585 U.S. 878 ............................................................................................................................20


                                                                      ii
         Case 3:24-cv-00010-SFR                        Document 42               Filed 02/05/25             Page 4 of 26




Jean v. Cnty. of Nassau,
   No. 14cv1322, 2020 U.S. Dist. LEXIS 45279 (E.D.N.Y. Mar. 16, 2020) ..............................11

Johnson v. Poway Unified Sch. Dist.,
   658 F.3d 954 (9th Cir. 2011) ...................................................................................................16

Knight v. U.S. Fire Ins. Co.,
   804 F.2d 9 (2d Cir. 1986)...........................................................................................................9

Lee v. Connecticut,
   427 F. Supp. 2d 124 (D. Conn. 2006) ........................................................................................9

Lee-Walker v New York City Dep’t of Educ.,
   220 F. Supp. 3d 484 (S.D.N.Y. 2016)................................................................................13, 16

Littlejohn v. City of New York,
    795 F.3d 297 (2d Cir. 2015).....................................................................................................11

Lynch v. Ackley,
   811 F.3d 569 (2d Cir. 2016)...............................................................................................12, 17

Payson v. Board of Education of Mount Pleasant Cottage School,
   No. 14cv9696, 2017 U.S. Dist. LEXIS 154296 (S.D.N.Y. Sep. 20, 2017) .............................12

Pickering v. Bd. of Educ. of Twp. High Sch. Dist. 205,
   391 U.S. 563 (1968) ...........................................................................................................14, 18

Piggee v. Carl Sandburg Coll.,
   464 F.3d 667 (7th Cir. 2006) ...................................................................................................19

Raspardo v. Carlone,
   770 F.3d 97 (2d Cir. 2014).................................................................................................11, 12

Reynolds v. Giuliani,
   506 F.3d 183 (2d Cir. 2007).....................................................................................................10

Rumsfeld v. Forum for Academic & Institutional Rights, Inc.,
   547 U.S. 47 (2006) ...................................................................................................................20

Smith v. County of Suffolk,
   776 F.3d 114 (2d Cir. 2015).....................................................................................................13

Sousa v. Roque,
   578 F.3d 164 (2d Cir. 2009).....................................................................................................15

W. Va. State Bd. of Educ. v. Barnette,
   319 U.S. 624 (1943) .................................................................................................................20




                                                                    iii
         Case 3:24-cv-00010-SFR                        Document 42               Filed 02/05/25             Page 5 of 26




Weinstock v. Columbia Univ.,
   224 F.3d 33 (2d Cir. 2000).........................................................................................................9

Weintraub v. Bd. of Educ. of City Sch. Dist. of City of N.Y.,
   593 F.3d 196 (2d Cir. 2010)...............................................................................................14, 17

West v. Atkins,
   487 U.S. 42 (1988) ...................................................................................................................13

Williams v. New York City Dept. of Correction,
   No. 19cv5200, 2020 U.S. Dist. LEXIS 16241 (S.D.N.Y. Jan. 30, 2020) ................................17

Wooley v. Maynard,
  430 U. S. 705 (1977) ................................................................................................................20

Ying Jing Gan v. City of New York,
   996 F.2d 522 (2d Cir. 1993)...............................................................................................11, 12

Other Authorities

First Amendment ................................................................................................................... passim

Fourteenth Amendment .................................................................................................................13




                                                                    iv
        Case 3:24-cv-00010-SFR                Document 42            Filed 02/05/25         Page 6 of 26




I.       INTRODUCTION

         Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rule 56 of this

Court, Defendants Hartford Board of Education, Leslie Torres-Rodriguez, Edward Wilson, Jr. and

Tracy Avicolli (collectively “Defendants”) move for summary judgment as to all counts of

Plaintiff John Grande’s two-count Complaint dated January 3, 2024. Summary Judgment is

appropriate based on Plaintiff’s deposition testimony and other evidence which establishes that

there is no genuine issue as to any material fact and Defendants are entitled to judgment as a matter

of law. Accordingly, Defendants’ Motion for Summary Judgment should be granted, and judgment

should enter for Defendants.

II.      FACTUAL BACKGROUND1

         A. Plaintiff’s Employment With the District

         Plaintiff commenced employment with the Hartford Board of Education (the “District”) in

1989 as a physical education teacher. (56(a)(1) Stmt. ¶ 1.)2 The Hartford Board of Education

oversees the operation of the Hartford Public Schools. (Id. ¶ 2.) Hartford Public Schools is one of

the largest school districts in Connecticut with approximately 3500 employees working in 39

schools serving 16,500 students. (Id. ¶ 3.) The District is an equal employment opportunity

employer with strong discrimination policies. (Id. ¶ 4.) The District also has a policy regarding

employee freedom of speech. (Id. ¶ 5.)

         In May 2006, Plaintiff received a counseling letter following an internal investigation into

an incident involving Plaintiff’s alleged restraint of a student during a physical education class.



1
  While not all of Plaintiff’s statements and characterizations are factually accurate, they are proximate enough for
the purpose of this motion and therefore are accepted as true and used by Defendants for purposes of this motion only.
Defendants reserve the right to dispute such testimony and to correct same should further litigation be necessary.
2
   Citations to the factual record are found in Defendants’ Rule 56(a)(1) Statement of Undisputed Facts filed
contemporaneously herewith.
       Case 3:24-cv-00010-SFR           Document 42        Filed 02/05/25      Page 7 of 26




(56(a)(1) Stmt. ¶ 6.) The District advised Plaintiff to “take great care in the future to facilitate

social development and to be sensitive to the needs of emotionally fragile students.” (Id. ¶ 7.) The

District also advised Plaintiff that future misconduct could lead to disciplinary action, up to and

including termination of employment. (Id. ¶ 8.)

       In March 2017, Plaintiff received a documented verbal warning for threatening and

intimidating behavior and was required to attend harassment training. (56(a)(1) Stmt. ¶ 9.) Once

again, the District advised Plaintiff that future misconduct could lead to disciplinary action, up to

and including termination of employment. (Id. ¶ 10.)

       B. Plaintiff’s Inappropriate Comments During the Professional Development
          Training

       Effective March 17, 2020, Hartford Public Schools closed to in-person instruction in

compliance with Governor Ned Lamont’s Executive Order in response to the Covid-19 pandemic.

(56(a)(1) Stmt. ¶ 11.) In the fall of 2020, Plaintiff still was teaching remote physical education

classes to his students. (Id. ¶ 12.) Plaintiff’s direct supervisor at the time was Tracy Avicolli, the

Director of Arts and Wellness. (Id. ¶ 13.) Ms. Avicolli, in her role as Director of Arts and Wellness,

sent a survey to teachers within her department regarding the level of student engagement during

remote classes. (Id. ¶ 14.)

        Plaintiff acknowledged that “[n]ot many [students] showed up” for Plaintiff’s remote

physical education classes during this time period. (56(a)(1) Stmt. ¶ 15.) Plaintiff did not know

why so many students did not come to class but thought “[t]hey probably didn’t have somebody

at home that had to get them on [the computer].” (Id. ¶ 16.) Plaintiff never attempted to find out

why so many students were not attending his remote classes. (Id. ¶ 17.) Plaintiff admitted that “[i]f

[students] are not showing up for class there’s a problem with engagement.” (Id. ¶ 18.) These

issues were not unique to the Hartford Public Schools. There was a “national issue with student



                                                  2
       Case 3:24-cv-00010-SFR               Document 42          Filed 02/05/25        Page 8 of 26




engagement and how to engage students in [remote] learning.” (Id. ¶ 19.)

        Ms. Avicolli determined that the results of those surveys “[w]arranted some more learning

on how to increase student engagement in remote classes as this was a very difficult time for our

students.” (56(a)(1) Stmt. ¶ 20.) As a result, Ms. Avicolli, in her role as Director of Arts and

Wellness, scheduled a professional development training that was intended to address student

engagement and “how we can better relate to our students in an environment that was very

challenging.” (Id. ¶ 21.) Ms. Avicolli, in her role as Director of Arts and Wellness, developed the

professional development training program to align with the student engagement data for remote

classes in physical education and unified arts. (Id. ¶ 22.) The District’s English/Language Arts

Department had recently done a similar professional development training “and it had gone very

well and so based on their feedback and experience with their teachers in the Hartford Public

Schools” Ms. Avicolli chose to use the presentation for an upcoming professional development

training for the Unified Arts Department. (Id. ¶ 23.)

        On October 28, 2020, Ms. Avicolli, in her role as Director of Arts and Wellness, facilitated

the professional development training.3 (56(a)(1) Stmt. ¶ 24.) Plaintiff participated in the October

28, 2020 professional development training. (Id. ¶ 26.) The training was mandatory for the entire

Unified Arts Department and part of his job duties to attend. (Id. ¶ 27.) The District requires that

teachers participate in professional development training as part of their job responsibilities. (Id. ¶

28.) In fact, Plaintiff participated in many professional development trainings throughout his

tenure with the District. (Id. ¶ 29.)

        At the start of the professional development training, Ms. Avicolli presented the student

engagement data she received from the surveys previously provided by the teachers in the Unified


3
  Leslie Torres-Rodriguez, Superintendent of the Hartford Public Schools, played no role in the October 28, 2020
professional development training for the Unified Arts Department. (Id. ¶ 25.)


                                                       3
       Case 3:24-cv-00010-SFR           Document 42         Filed 02/05/25      Page 9 of 26




Arts Department. (56(a)(1) Stmt. ¶ 30.) The professional development training then related the

student engagement data to the Hartford Public School’s Instructional Vision for students. (Id. ¶

31.)

       At the conclusion of the training, teachers were instructed to break up into smaller breakout

groups to discuss how it felt to engage in an activity that was part of the training. (56(a)(1) Stmt.

¶ 32.) The teachers attending the professional development training were told they did not have to

share their feelings with the training exercise in the smaller group discussions if they were not

comfortable doing so. (Id. ¶ 33.) Plaintiff understood this meant that he did not have to speak at

all during the small group discussion. (Id. ¶ 34.) The teachers attending the professional

development training also were told “to agree to disagree respectfully.” (Id. ¶ 35.) The District has

policies requiring teachers and other staff to engage professionally with their colleagues. (Id. ¶ 36.)

       Some of the teachers attending the small group discussion with Plaintiff chose not to share

their feelings on the training exercise. (56(a)(1) Stmt. ¶ 37.) While the discussion group “started

off quiet,” Plaintiff “opened it up by saying that I just got man bashed and white shamed, but I’m

going to sit there quietly.” (Id. ¶ 38.) Plaintiff also said, “I’m not buying into that white bashing

BS.” (Id. ¶ 39.) Plaintiff admits that “universally when someone says that’s BS it would stand for

bullshit.” (Id. ¶ 40.) Plaintiff voluntarily chose to make those comments during the professional

development training. (Id. ¶ 41.)

       C. The District’s Investigation and Plaintiff’s Letter of Reprimand

       A teacher in Plaintiff’s small group discussion complained about the comments Plaintiff

made during the professional development training. (56(a)(1) Stmt. ¶ 42.) The teacher sent an e-

mail to Ms. Avicolli shortly after the professional development training. (Id. ¶ 43.) Plaintiff did

not know this teacher and never spoke with her prior to the professional development training. (Id.




                                                  4
         Case 3:24-cv-00010-SFR             Document 42           Filed 02/05/25         Page 10 of 26




¶ 44.)

         The District commenced an investigation into the teacher’s complaint about Plaintiff’s

comments during the professional development training. (56(a)(1) Stmt. ¶ 45.) Edward Wilson,

the District’s Executive Director of Internal Investigations and Security, appointed Suhail Aponte

to investigate the complaint against Plaintiff.4 (Id. ¶ 47.) Ms. Aponte was a Labor

Investigator/Information Specialist for the District. Among her duties was investigating employee

misconduct. (Id. ¶ 48.) The District identified the teachers who participated in the breakout room

with Plaintiff during the professional development training on October 28, 2020. (Id. ¶ 49.) Ms.

Aponte proceeded to schedule interviews with each of the teachers who the District identified as

potential witnesses to the complaint about Plaintiff. (Id. ¶ 50.) Ms. Aponte’s process when

investigating was to meet with witnesses (remotely at the time) and then prepare written statements

for the witnesses to review and approve. (Id. ¶ 51.)

         Ms. Aponte interviewed the complaining teacher as part of her investigation, and she

confirmed that Plaintiff stated “I am not buying into this white-bashing bullshit” in the breakout

room for the professional development training. The teacher explained that Plaintiff’s statement

was “very disturbing,” “deeply affects the community” served by Hartford Public Schools and

“was disrespectful to the work that we are trying to get started in our department.” (56(a)(1) Stmt.

¶ 52.) Ms. Aponte then interviewed a second teacher from the breakout session who reported that

Plaintiff was very dismissive and said: “I don’t know about you guys, but I’m not buying into this

white bashing bullshit.” According to this teacher, the small group discussion was “very

uncomfortable” as a result of Plaintiff’s comments. (Id. ¶ 53.) Ms. Aponte interviewed a third

teacher who reported that Plaintiff’s statements in the small group session “shifted the mood and


4
  Prior to October 2020, Mr. Wilson had not met Plaintiff and no one in the District ever spoke to Mr. Wilson about
Plaintiff. (Id. ¶ 46.)


                                                        5
      Case 3:24-cv-00010-SFR           Document 42       Filed 02/05/25      Page 11 of 26




the tone in the breakout room.” (Id. ¶ 54.) The remaining teachers who were in the breakout room

with Plaintiff advised Ms. Avicolli that they could not recall Plaintiff’s exact comments, with one

teacher reporting that he “[did] not remember hearing swear words.” (56(a)(1) Stmt. ¶ 55.)

       In January 2021, Ms. Aponte also contacted Plaintiff as part of the District’s investigation.

(56(a)(1) Stmt. ¶ 56.) Plaintiff participated in the District’s investigation and answered questions

posed by Ms. Aponte. (Id. ¶ 57.)

       After Ms. Aponte completed her investigation, she provided an investigation file to Mr.

Wilson which included all of the statements she obtained as part of her investigation. (56(a)(1)

Stmt. ¶ 58.) Mr. Wilson, in his role as Executive Director of Internal Investigations, reviewed the

investigative file and decided to schedule a pre-disciplinary meeting with Plaintiff. (Id. ¶ 59.) At

that time, Mr. Wilson had not decided whether Plaintiff should be disciplined for his conduct

during the professional development training. (Id.)

       In October 2021, Edward Wilson, in his role as Executive Director of Internal

Investigations, met with Plaintiff. (56(a)(1) Stmt. ¶ 60.) During the pre-disciplinary hearing,

Plaintiff answered questions posed by Mr. Wilson. (Id.) Plaintiff also shared his opinion that the

content of the professional development training was not relevant to his work as a physical

education teacher. (Id. ¶ 61.)

       After reviewing the investigation file, including witness statements, and meeting with

Plaintiff and considering all information provided by Plaintiff in writing and during the pre-

disciplinary meeting, Mr. Wilson, in his role as Executive Director of Internal Investigations, made

the determination that Plaintiff used inappropriate language during the professional development

breakout session on October 28, 2020. (56(a)(1) Stmt. ¶ 62.) Mr. Wilson, in his role as Executive

Director of Internal Investigations, made the decision to discipline Plaintiff because of what he




                                                 6
       Case 3:24-cv-00010-SFR          Document 42         Filed 02/05/25      Page 12 of 26




said and “how he communicated out in the breakout room, which impacted the training session.”

(Id. ¶ 63.) Mr. Wilson was the sole decisionmaker for the decision to discipline Plaintiff. (Id. ¶

64.) Mr. Wilson was not directed to discipline Plaintiff by anyone, and Mr. Wilson did not consult

with any of his supervisors prior to issuing the letter of reprimand. (Id.)

       At the conclusion of the District’s investigation, Plaintiff received a written letter of

reprimand “for making inappropriate and unprofessional comments” in the professional

development small group discussion he attended on October 28, 2020. (56(a)(1) Stmt. ¶ 65.)

Plaintiff was warned that future misconduct could lead to disciplinary action, including termination

of employment. (Id. ¶ 66.)

       D. Plaintiff’s Retirement From the District

       Plaintiff continued to work at the District after receiving the letter of reprimand and

ultimately retired from the District on October 1, 2024 after working for the District for thirty-five

years. (56(a)(1) Stmt. ¶ 67.)

III.   PROCEDURAL HISTORY

       On January 3, 2024, Plaintiff filed this action against Hartford Board of Education (the

“District”), Leslie Torres-Rodriguez, in her individual capacity and her official capacity as

Superintendent of Hartford Public Schools (“Ms. Torres-Rodriguez”), Edward Wilson, Jr., in his

individual capacity and his official capacity as Staff Attorney/Executive Director of Internal

Investigations and Security of Hartford Public Schools (“Mr. Wilson”), and Tracy Avicolli, in her

individual capacity and her official capacity as Director of Arts and Wellness for Hartford Public

Schools (“Ms. Avicolli”). Plaintiff alleges the following counts against all four Defendants: (1)

retaliation in violation of the First Amendment; and (2) compelled speech in violation of the First

Amendment. (Compl., Dkt. No. 1.)




                                                  7
      Case 3:24-cv-00010-SFR           Document 42        Filed 02/05/25       Page 13 of 26




IV.     LEGAL ANALYSIS

        A. Summary Judgment Standard

        Rule 56(a) of the Federal Rules of Civil Procedure provides that a party is entitled to

summary judgment if “there is no genuine dispute as to any material fact and . . . the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “Although the moving party bears

the initial burden of establishing that there are no genuine issues of material fact, once such a

showing is made, the non-movant must set forth specific facts showing that there is a genuine issue

for trial.” Weinstock v. Columbia Univ., 224 F.3d 33, 41 (2d Cir. 2000).

        “[T]he mere existence of some alleged factual dispute between the parties will not defeat

an otherwise properly supported motion for summary judgment; the requirement is that there be

no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48

(citations omitted; emphasis in original). “Summary judgment is inappropriate only if the issue to

be resolved is both genuine and related to a material fact. Therefore, the mere existence of some

alleged factual dispute between the parties will not defeat an otherwise properly supported motion

for summary judgment.” Lee v. Connecticut, 427 F. Supp. 2d 124, 130 (D. Conn. 2006) (emphasis

in original). For purposes of summary judgment, a fact is “material” if it “might affect the outcome

of the suit under the governing law. . . . Factual disputes that are irrelevant or unnecessary” are

insufficient to preclude summary judgment. Anderson, at 248. Likewise, an issue of fact is

“genuine” if “the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Id.

        The Second Circuit has encouraged the use of summary judgment for the disposition of

cases. “Properly used, summary judgment permits a court to streamline the process for terminating

frivolous claims and to concentrate its resources on meritorious litigation.” Knight v. U.S. Fire Ins.




                                                  8
      Case 3:24-cv-00010-SFR           Document 42        Filed 02/05/25       Page 14 of 26




Co., 804 F.2d 9, 12 (2d Cir. 1986), cert. denied, 480 U.S. 932 (1987). As explained by the Supreme

Court, “[s]ummary judgment procedure is properly regarded not as a disfavored procedural

shortcut, but rather as an integral part of the Federal Rules as a whole, which are designed to secure

the just, speedy, and inexpensive determination of every action.” Celotex Corp. v. Catrett, 477

U.S. 317, 327 (1986) (citations omitted).

       B. Plaintiff’s Claims Against Ms. Torres-Rodriguez, Mr. Wilson and Ms. Avicolli
          Fail as a Matter of Law

       Plaintiff alleges that Ms. Torres-Rodriguez, Mr. Wilson and Ms. Avicolli (collectively the

“Individual Defendants”) retaliated against him and violated his First Amendment rights to free

speech and association (Compl., Count One, ¶ 103) and compelled him to “pledge his support for

their advancement of critical race theory and opinions regarding racial privilege….” (Compl., Count

Two, ¶s 115-116.) Plaintiff brings his section 1983 claims against the Individual Defendants both in

their official capacities as employees of the Board and in their individual capacities. (See generally

Compl.) Plaintiff’s claims against the Individual Defendants fail as a matter of law.

               1. Judgment should enter in favor of the Individual Defendants on Plaintiff’s
                  section 1983 claims because they are duplicative of his claims against the
                  District.

       It is well settled that “[a]n official capacity suit against a public servant is treated as one

against the governmental entity itself.” Reynolds v. Giuliani, 506 F.3d 183, 191 (2d Cir. 2007). As

such, “district courts within the Second Circuit consistently dismiss as duplicative claims asserted

against officials in their official capacities where the plaintiff has named the municipal entity as a

defendant.” Demski v. Town of Enfield, No. 3:14cv01568, 2015 U.S. Dist. LEXIS 95116, at *6 (D.

Conn. July 22, 2015) (collecting cases). Here, Plaintiff brings identical section 1983 claims against

the Board and the Individual Defendants acting in their official capacities as employees of the Board.

Accordingly, to the extent Plaintiff asserts section 1983 claims against the Individual Defendants in



                                                  9
       Case 3:24-cv-00010-SFR                  Document 42           Filed 02/05/25          Page 15 of 26




their official capacities, Ms. Torres-Rodriguez,5 Mr. Wilson and Ms. Avicolli are entitled to

judgment as a matter of law on Counts One and Two of the Complaint. Jean v. Cnty. of Nassau, No.

14cv1322, 2020 U.S. Dist. LEXIS 45279, at *17 n.6 (E.D.N.Y. Mar. 16, 2020) (dismissing official

capacity claim on summary judgment where the municipal entity was named in the complaint);

Chiaravallo v. Middletown Transit District, ** (D. Conn. Sept. 22, 2021) (same).

                  2. Judgment should enter in favor of the Individual Defendants because they
                     are entitled to qualified immunity.

         When a state or local official is sued for damages in their individual capacity, they may,

“depending . . . on the nature of the function[s he] perform[s] . . . be entitled to . . . qualified

immunity.” Bailey v. Riehl, No. 3:24cv00993, 2024 U.S. Dist. LEXIS 215945, at *18 (D. Conn.

Nov. 27, 2024) (citations omitted). The U.S. Supreme Court has instructed that “[q]ualified

immunity balances two important interests—the need to hold public officials accountable when

they exercise power irresponsibly and the need to shield officials from harassment, distraction, and

liability when they perform their duties reasonably.” Raspardo v. Carlone, 770 F.3d 97, 116 (2d

Cir. 2014) (quoting Pearson v. Callahan, 555 U.S. 223, 231 (2009)). “Because the defense of

qualified immunity is designed to relieve government officials of the burdens of litigation as well

as of the threat of damages, summary judgment is encouraged as a device for disposing of claims

barred by qualified immunity.” Ying Jing Gan v. City of New York, 996 F.2d 522, 532 (2d Cir.

1993) (citing cases); Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).

         “[T]he doctrine of qualified immunity protects government officials from suits brought



5
  Ms. Torres-Rodriguez is entitled to summary judgment for the additional reason that she was not personally involved
in the District’s investigation or the issuance of the letter of reprimand to Plaintiff. An individual may be held liable
under section 1983 only if she was “personally involved in the alleged deprivation” of a constitutional right. Littlejohn
v. City of New York, 795 F.3d 297, 314 (2d Cir. 2015) (internal citation and quotation marks omitted). See also
Condon v. Town of Brookfield, No. 3:23cv00695, 2024 U.S. Dist. LEXIS 149156, at *7-9 (D. Conn. Aug. 20, 2024)
(discussing factors that may establish an individual defendant’s personal involvement).



                                                          10
      Case 3:24-cv-00010-SFR            Document 42        Filed 02/05/25      Page 16 of 26




against them in their individual capacity for money damages where their conduct does ‘not violate

clearly established statutory or constitutional rights of which a reasonable person would have

known.’” Raspardo, 770 F.3d at 116 (quoting Harlow, 457 U.S. at 818). See also Ying Jing Gan,

996 F.2d at 531 (citing cases). To determine whether a particular right was clearly established at

the time the Individual Defendants allegedly acted, this court should consider:

               (1) whether the right in question was defined with
               “reasonable specificity”; (2) whether the decisional law of the
               Supreme Court and the applicable circuit court support the existence
               of the right in question; and (3) whether under preexisting law a
               reasonable defendant official would have understood that his or her
               acts were unlawful.

Ying Jing Gan, 996 F.2d at 532 (citations omitted). “Assertion of the privilege should be upheld

unless the ‘contours of the right’ were “sufficiently clear that a reasonable official would

understand that what he is doing violates that right.” Id. (quoting Anderson v. Creighton, 483 U.S.

635, 640 (1987)).

       The Individual Defendants are entitled to judgment as a matter of law on Plaintiff’s section

1983 claims by reason of qualified immunity when the District gave Plaintiff a letter of reprimand

for unprofessional and inappropriate language during the professional development training. It is

undisputed that Plaintiff called the training – aimed at understanding and combatting the reasons

for poor student engagement during Covid-19 remote learning – “BS,” i.e., “bullshit.” Based on

First Amendment decisional law, qualified immunity is appropriate when it is clear that Plaintiff’s

speech addressed his own personal grievance with the professional development training and

Plaintiff did not speak as a private citizen on a matter of public concern. See, e.g., Lynch v. Ackley,

811 F.3d 569, 581 (2d Cir. 2016) (individual defendant was entitled to qualified immunity because

“it was far from clear” that the plaintiff’s speech at a union meeting regarding a flex time policy

“asserted a matter of public concern, rather than a personal grievance”); Payson v. Board of



                                                  11
       Case 3:24-cv-00010-SFR               Document 42          Filed 02/05/25         Page 17 of 26




Education of Mount Pleasant Cottage School, No. 14cv9696, 2017 U.S. Dist. LEXIS 154296, at

*89-91 (S.D.N.Y. Sep. 20, 2017) (individual defendants were entitled to qualified immunity

because it was not clear whether the plaintiff was acting as a private citizen or public employee or

whether the speech involved a matter of public concern).

          Accordingly, to the extent Plaintiff asserts section 1983 claims against the Individual

Defendants in their individual capacities, Ms. Torres-Rodriguez, Mr. Wilson and Ms. Avicolli are

entitled to judgment as a matter of law on Counts One and Two of the Complaint.

          C. Defendants Are Entitled to Summary Judgment on Plaintiff’s First Amendment
             Retaliation Claim

          Plaintiff brings claims against the District and Individual Defendants under section 1983

alleging that they retaliated against him for exercising his right to free speech in violation of the

First Amendment. (Compl., Count One, ¶s 103, 106.) Plaintiff’s retaliation claim fails as a matter

of law.

          To state a claim under section 1983, Plaintiff must prove that Defendants, while acting

under color of state law, denied him a constitutional or federal statutory right. See West v. Atkins,

487 U.S. 42, 48 (1988); Cornejo v. Bell, 592 F.3d 121, 127 (2d Cir. 2010). Here, in order to prevail

on his First Amendment6 retaliation claim, Plaintiff must show: (1) he was engaged in activity

protected by the First Amendment; (2) he suffered an adverse employment action; and (3) a causal

connection between the protected activity and adverse employment action. See Smith v. County

of Suffolk, 776 F.3d 114, 118 (2d Cir. 2015); Lee-Walker v New York City Dep’t of Educ., 220

F. Supp. 3d 484, 490 (S.D.N.Y. 2016). Plaintiff did not engage in activity protected by the First

Amendment and summary judgment is appropriate.


6
  The Fourteenth Amendment applies the First Amendment to actions by state and municipal officials. See, e.g., Bd.
of Educ., Island Trees Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 855 n.1 (1982).



                                                       12
         Case 3:24-cv-00010-SFR        Document 42        Filed 02/05/25      Page 18 of 26




         The law is clear that public employees like Plaintiff “must by necessity accept certain

limitations on his or her freedom, because his or her speech can contravene governmental policies

or impair the proper performance of governmental functions.” Weintraub v. Bd. of Educ. of City

Sch. Dist. of City of N.Y., 593 F.3d 196, 201 (2d Cir. 2010) (quoting Garcetti v. Ceballos, 547

U.S. 410, 418-419 (2006)). Thus, “[t]he Supreme Court’s employee-speech jurisprudence reflects

‘the common sense realization[s] that government offices could not function if every employment

decision became a constitutional matter,’ and that ‘government officials should enjoy wide latitude

in managing their offices without intrusive oversight by the judiciary in the name of the First

Amendment.’” Weintraub, 593 F.3d at 201 (quoting Connick v. Myers, 461 U.S. 138, 143, 146

(1983)). “Accordingly, the Supreme Court has strived ‘to arrive at a balance between the interests

of the teacher, as a citizen, in commenting upon matters of public concern and the interest of [the

government], as an employer, in promoting the efficiency of the public services it performs

through its employees.’” Weintraub, 593 F.3d at 201 (quoting Pickering v. Bd. of Educ. of Twp.

High Sch. Dist. 205, 391 U.S. 563, 568 (1968)). See also Connick, 461 U.S. at 149 (“To presume

that all matters which transpire within a government office are of public concern would mean that

virtually every remark -- and certainly every criticism directed at a public official -- would plant

the seed of a constitutional case….the First Amendment does not require a public office to be run

as a roundtable for employee complaints over internal office affairs”). Multiple district and circuit

courts have held that teachers’ speech is not protected by the First Amendment. See discussion

infra.

                1. Plaintiff did not speak as a private citizen on a matter of public concern.

         A public employee’s speech is protected by the First Amendment only when he speaks as

a private citizen on a matter of public concern. Garcetti, 547 U.S. at 418. “[W]hen a public




                                                 13
       Case 3:24-cv-00010-SFR          Document 42        Filed 02/05/25       Page 19 of 26




employee speaks not as a citizen upon matters of public concern, but instead as an employee upon

matters only of personal interest, absent the most unusual circumstances, a federal court is not the

appropriate forum in which to review the wisdom of a personnel decision taken by a public agency

allegedly in reaction to the employee’s behavior.” Connick, 461 U.S. at 147. Thus, put another

way, if “the court determines that the plaintiff either did not speak as a citizen or did not speak on

a matter of public concern, ‘the employee has no First Amendment cause of action based on his or

her employer’s reaction to the speech.’” Sousa v. Roque, 578 F.3d 164, 170 (2d Cir. 2009)

(quoting Garcetti, 547 U.S. at 418)). See also Grillo v. N.Y.C. Transit Auth., 291 F.3d 231, 235

(2d Cir. 2002) (plaintiff must show that his speech was “made as a citizen on matters of public

concern rather than as an employee on matters of personal interest”). “Whether an employee’s

speech addresses a matter of public concern is a question of law for the court to decide, taking into

account the content, form, and context of a given statement as revealed by the whole record.”

Connick, 461 U.S. at 147-148; Ezekwo v. New York City Health & Hospitals Corp., 940 F.2d 775,

781 (2d Cir. 1991).

       Here, the content, form, and context of Plaintiff’s speech makes clear that Plaintiff was

airing his personal grievances with the District’s professional development training and not

speaking as a private citizen on a matter of public concern. For example:

      Plaintiff’s speech took place during a professional development training session. (Rule
       (56(a)(1) Stmt. ¶s 32, 38-39, 41.)

      Attending professional development was a job requirement for all District teachers,
       including Plaintiff. (56(a)(1) Stmt. ¶ 26-28.)

      Plaintiff’s speech was directed to other teachers who were also participating in the
       professional development training as part of their duties. (56(a)(1) Stmt. ¶s 33, 38-39.)

      The content of the particular professional development training was to discuss concerns
       about student engagement during the extended period of distance learning necessitated by
       the Covid-19 pandemic. (56(a)(1) Stmt. ¶s 30-31.)


                                                 14
      Case 3:24-cv-00010-SFR          Document 42        Filed 02/05/25      Page 20 of 26




       Plaintiff’s speech, particularly in this context, was clearly not speech of a private citizen

on a matter of public concern. Citizens who do not work for the District do not participate in the

type of professional development session at issue in this case which weighs strongly against a

finding that Plaintiff spoke as a private citizen. See, e.g., Lee-Walker v. New York City Dep’t of

Educ., 220 F. Supp. 3d 484, 493 (S.D.N.Y. 2016) (no First Amendment protection where teacher

spoke “only to several school administrators rather than to the public,” and her concerns regarded

her own lesson plans “for which there is no relevant citizen analogue”). As a general rule,

“activities required of the employee as part of his employment duties are not performed ‘as a

citizen’ if they are not ‘the kind of activity engaged in by citizens who do not work for the

government….’” Jackler v. Byrne, 658 F.3d 225, 237 (2d Cir. 2011) (quoting Garcetti, 547 U.S.

at 423)). Plaintiff’s speech occurred during a mandatory professional development training related

to his employment as a teacher of remote students struggling with engagement during the Covid-

19 pandemic and, as such, his speech was not that of a private citizen.

       The content of Plaintiff’s speech – calling the professional development training “BS” –

also makes clear that he was airing his own personal grievance with the District’s training.

Connick, 461 U.S. at 154 (no First Amendment protection because employee questionnaire

relating to trust in supervisors and office morale “is most accurately characterized as an employee

grievance concerning internal office policy” and not of public import); Grillo v. New York City

Transit Auth., 291 F.3d 231, 235-236 (2d Cir. 2002) (where employee voiced “objections to the

unmanliness of certain management techniques, there is no evidence that these statements were

uttered for any other reason than to protect [the plaintiff’s] own rights or to air his personal

grievances”); Johnson v. Poway Unified Sch. Dist., 658 F.3d 954, 962-64 (9th Cir. 2011) (high

school teacher’s speech was made “as an employee, not as a citizen,” and therefore could not form




                                                15
      Case 3:24-cv-00010-SFR           Document 42        Filed 02/05/25      Page 21 of 26




the basis of a First Amendment claim); Ezekwo, 940 F.2d at 781 (“viewed objectively and as a

whole, Ezekwo’s statements did not address a matter of public concern. Her complaints were

personal in nature and related to her own situation within the HHC residency program….Ezekwo

was not on a mission to protect the public welfare”). Even if Plaintiff made his comments publicly,

rather than during the District’s professional development training, calling the training “BS” still

would convey no information to the public at all other than the fact that Plaintiff disagreed with

the content of the training. Connick, 461 U.S. at 154 (noting that employee questionnaire even “if

released to the public, would convey no information at all other than the fact that a single employee

is upset with the status quo”).

       Accordingly, when Plaintiff expressed his personal dispute with the professional

development training he did so as a District employee and not as a private citizen addressing a

matter of public concern.

               2. Plaintiff’s speech was pursuant to his “official duties” and not as a private
                  citizen.

       Speech made by employees “pursuant to … official duties” rather than as a private citizen

is not protected by the First Amendment. Lynch v. Ackley, 811 F.3d 569, 578 (2d Cir. 2016);

Garcetti, 547 U.S. at 421-422. Even where there is no clear official duty to speak, courts in the

Second Circuit focus on the “subject, manner, and context of the speech to determine whether it

relates to topics that are indispensable prerequisites to effective performance of the speaker’s

primary employment responsibility….” Williams v. New York City Dept. of Correction, No.

19cv5200, 2020 U.S. Dist. LEXIS 16241, at *20 (S.D.N.Y. Jan. 30, 2020) (citation and internal

quotations marks omitted). “Whether speech is pursuant to official duties is an ‘objective’ and

‘practical’ inquiry.” Id. (citing Weintraub, 593 F.3d at 202).




                                                 16
      Case 3:24-cv-00010-SFR            Document 42         Filed 02/05/25      Page 22 of 26




        Plaintiff’s speech occurred during a mandatory professional development training to

discuss low student engagement during the prolonged period of distance learning prompted by

Covid-19. Plaintiff’s speech addressed topics related the effective performance of Plaintiff’s job

as a teacher during the pandemic – exploring poor student engagement during a time of remote

education. Accordingly, Plaintiff spoke pursuant to his official duties and not as private citizen

and Defendants did not violate Plaintiff’s First Amendment Rights. See, e.g., Garcetti, 547 U.S. at

421-422; Brown v. Chicago Bd. Of Educ., 824 F.3f 713, 715 (7th Cir. 2015) (teacher’s impromptu

discussion on racial epithets was pursuant to official duties and not private speech).

               3. The District had a legitimate interest in restricting injurious speech.

        Even speech on a matter of public concern is not protected “unless the employee’s First

Amendment interests outweigh the government employer’s legitimate interests in efficient

administration.” Pickering, 391 U.S. at 568. See also Connick, 461 U.S. at 142 (speech on a matter

of public concern “must not be outweighed by an injury the speech could cause to the interest” of

the public employer). Thus, “[w]hen an employee speaks as a citizen addressing a matter of public

concern, the First Amendment requires a delicate balancing of the competing interests surrounding

the speech and its consequences.” Jackler v. Byrne, 658 F.3d 225, 237 (2d Cir. 2011) (citing

Garcetti, 547 U.S. at 423). “The weighing of the competing interests is a matter of law for the

court.” Id.

        Here, the District had a legitimate interest in the effective administration of its professional

development that outweighed Plaintiff’s interest to engage in his speech. See Connick, 461 U.S.

at 154 (noting that any “limited First Amendment interest involved here does not require that [the

employer] tolerate action which he reasonably believed would disrupt the office, undermine his

authority, and destroy close working relationships”). Even if Plaintiff’s speech touched remotely




                                                  17
      Case 3:24-cv-00010-SFR            Document 42         Filed 02/05/25      Page 23 of 26




on a matter of public concern – instead of his own personal grievance with the topic of the

professional development training – the District did not violate Plaintiff’s First Amendment right

to free speech. Piggee v. Carl Sandburg Coll., 464 F.3d 667, 672 (7th Cir. 2006) (teacher’s

expression of homophobic views, couched in religious expression, “inhibited her ability to perform

that job by undermining her relationship with [] students who disagreed with or were offended by

her expressions of her beliefs”).

        The Second Circuit decision in Grillo is instructive. Grillo was disciplined following

disruptive behavior during a required training program, including calling the class material

“women’s stuff” or instructions to “act like women” and commenting that women who dressed in

a certain way “should expect to be grabbed and pulled on.” Grillo, 291 F.3d at 233. Grillo argued

that his comments were intended to spark debate about the employer’s sexual harassment policy

and, thus, his speech was on a matter of public concern protected by the First Amendment. The

Second Circuit rejected Grillo’s argument noting that even if his crude remarks implicated a matter

of public concern (sexual harassment), his employer “was justified in restricting his speech given

the mildness of the sanction (a rebuke), the comment’s tenuous connection to matters of public

concern, and its significant potential for disruption.” Grillo, 291 F.3d at 236.

        Similarly, the District was justified in taking the action the District took. Plaintiff only

received a mild sanction by way of a letter of reprimand. The reprimand did not impact Plaintiff’s

salary or employment status in any way. In fact, Plaintiff retired several years later – after a thirty-

five-year career. Plaintiff’s comments also had no connection to any matter of public concern.

Finally, Plaintiff’s comments had the potential for disruption and indeed were disruptive as

evidenced by the fact that an employee complained about Plaintiff’s speech. (56(a)(1) Stmt. ¶s 42,

52.) See, e.g., Grillo, 291 F.3d at 235 (employer was justified in restricting Grillo’s speech);




                                                  18
      Case 3:24-cv-00010-SFR              Document 42     Filed 02/05/25      Page 24 of 26




Connick, 461 U.S. at 153 (“the fact that [the employee] … exercised her rights to speech at the

office supports [the employer’s] fears that the functioning of his office was endangered”).

       D. Defendants Are Entitled To Summary Judgment On Plaintiff’s “Compelled
          Speech” Claim

       Plaintiff also claims that the District and Individual Defendants violated his First

Amendment rights by forcing him to “voice or pledge his support for their advancement of critical

race theory and opinions regarding racial privilege….” (Compl., Count Two, ¶s 115-116.) As with

his retaliation claim, Plaintiff’s “compelled speech” claim fails as a matter of law.

       The First Amendment “includes both the right to speak freely and the right to refrain from

speaking at all.” Janus v. AFSCME, Council 31, 585 U.S. 878, 892 (quoting Wooley v. Maynard,

430 U. S. 705, 714 (1977)). Thus, the “freedom of speech prohibits the government from telling

people what they must say.” Rumsfeld v. Forum for Academic & Institutional Rights, Inc., 547

U.S. 47, 61 (2006).

       As a practical matter, Plaintiff’s “compelled speech” claim fails because Plaintiff was not

compelled to speak at all. To the contrary, the District explicitly advised Plaintiff and all

participants in the professional development training “[y]ou do not have to share.” (Compl., ¶ 29;

56(a)(1) Stmt. ¶s 32-34.) Thus, whether to speak and what to say during the professional

development training was within Plaintiff’s sole discretion. Compare W. Va. State Bd. of Educ. v.

Barnette, 319 U.S. 624, (1943) (compelling students to salute and recite Pledge of Allegiance);

Wooley, 430 U.S. 705 (compelling citizens to bear political message on license plates). As set

forth more fully above, once Plaintiff elected to speak, the District had a legitimate interest in

restricting speech that was disruptive and inappropriate. Accordingly, Plaintiff’s “compelled

speech” claim fails as a matter of law.




                                                 19
      Case 3:24-cv-00010-SFR        Document 42      Filed 02/05/25   Page 25 of 26




IV.     CONCLUSION

        For all of the foregoing reasons, Defendants’ Motion for Summary Judgment should be

granted in its entirety.



                                                 DEFENDANTS,
                                                 HARTFORD BOARD OF EDUCATION,
                                                 LESLIE TORRES-RODRIGUEZ,
                                                 EDWARD WILSON, JR., and
                                                 TRACY AVICOLLI

                                          By:    /s/ Margaret J. Strange
                                                 Margaret J. Strange (ct08212)
                                                 Margaret.Strange@jacksonlewis.com
                                                 Sara R. Simeonidis (ct25566)
                                                 Sara.Simeonidis@jacksonlewis.com
                                                 Jackson Lewis P.C.
                                                 90 State House Square, 8th Floor
                                                 Hartford, CT 06103
                                                 P: (860) 522-0404
                                                 F: (860) 247-1330




                                            20
       Case 3:24-cv-00010-SFR          Document 42        Filed 02/05/25      Page 26 of 26




                                CERTIFICATION OF SERVICE

         I hereby certify that on February 5, 2025, a copy of foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing as indicated below. Notice of this filing

will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail

to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court’s CM/ECF System.



                                             /s/ Sara R. Simeonidis
                                             Sara R. Simeonidis
4926-4416-8209, v. 5




                                                 21
